United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

The Center for Investigative Reporting et.
al. Case No. C 19-cv-08181

CONSENT OR DECLINATION
Plaintiff(s) TO MAGISTRATE JUDGE

v. JURISDICTION
U.S. Dep't of Treasury

Defendant(s).

 

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
jurisdiction in this matter. Sign this form below your selection.

Mi Consent to Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct ail further proceedings in this case, including trial and
entry of final judgment. 1 understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

 

OR
[1 Decline Magistrate Judge Jurisdiction
In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States

magistrate judge conduct all further proceedings in this case and | hereby request that this case
be reassigned to a United States district judge.

 

pAtTE: Dec. 17,2019 NAME: D: Victoria Baranetsky

 

COUNSEL FOR ae .
(OR “PRO SE”): Plaintiffs (CIR & Aaron Glantz)

 

 

  

 

 

/ Signature

 

 
